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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW Y ORK
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UNI TED STATES OF AMERICA,                                           23-Cr-490 (SHS)

                 -v-

R OBERT MENENDEZ, NADINE MENENDEZ,                                   ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
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SIDNEY H. STEIN, U.S. District Judge.

        Each defendant is directed to appear in person at the 10:30 a.m. confe rence tomo rrow.

Dated: New York, New York
       April 18, 2024

                                                     SO ORDERED:
